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                United States Court of Appeals
                                For the First Circuit
                                    _____________________
 No. 21-1651

        RENEE MINISTERI, Personal Representative of the Estate of Anthony Ministeri,

                                       Plaintiff, Appellee,

                                                v.

                  RELIANCE STANDARD LIFE INSURANCE COMPANY,

                                      Defendant, Appellant.


 No. 21-1652

        RENEE MINISTERI, Personal Representative of the Estate of Anthony Ministeri,

                                       Plaintiff, Appellant,

                                                v.

                  RELIANCE STANDARD LIFE INSURANCE COMPANY,

                                     Defendant, Appellee.
                                     __________________

                                         JUDGMENT
                                     Entered: July 25, 2022

         This cause came on to be heard on appeal from the United States District Court for the
 District of Massachusetts and was argued by counsel.

         Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
 judgment of the district court is affirmed. Three-fourths costs shall be taxed in favor of the
 plaintiff.

                                                       By the Court:
                                                       Maria R. Hamilton, Clerk

 cc: Richard J. Sullivan, Teresa A. Monroe, Joshua Bachrach, Kara G. Thorvaldsen, Colleen C.
 Cook, Deborah Higashi Dodge
